Case 0:21-cv-60914-WPD Document 62 Entered on FLSD Docket 04/29/2022 Page 1 of 6




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 21-cv-60914-CIV-DIMITROULEAS/SNOW

   UMG Recordings, Inc.; Capitol Records,
   LLC; Universal Music Corp.; Universal
   Music – Z Tunes LLC; Universal Musica,
   Inc.; PolyGram Publishing, Inc.; Songs of
   Universal, Inc.; and Universal Music – MGB
   NA LLC,

           Plaintiffs,

   v.

   Vital Pharmaceuticals, Inc., d/b/a Bang
   Energy; and Jack Owoc, an individual,

         Defendants.
   ____________________________________

                     DEFENDANTS’ STATEMENT OF MATERIAL FACTS
          Defendants, Vital Pharmaceuticals, Inc., d/b/a Bang Energy, and Jack Owoc, by and through their

  undersigned counsel, pursuant to Local Rule 56.1, hereby file their Statement of Material Facts in support

  of their Motion for Summary Judgment.

          1.      Founded in 1993, Vital Pharmaceuticals manufactures and sells the popular Bang

  Energy drink. Concurrently filed Declaration of Megan Owoc (“Owoc Decl.”) at ¶ 4.

          2.      Jack Owoc owns Vital Pharmaceuticals. Owoc Decl. at ¶ 5.

          3.      Bang Energy makes regular posts on TikTok and thousands of posts across all

  online platforms. Owoc Decl. at ¶ 8.

          4.      TikTok is a social media site centered around short videos that launched in August

  2018, and contains a built-in music library of songs which users can include in videos posted on

  its platform. Users do not have to exit the application or upload their own music. TikTok videos

  were initially limited to 15 second durations but more recently the maximum duration has
                                                       1
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Case 0:21-cv-60914-WPD Document 62 Entered on FLSD Docket 04/29/2022 Page 2 of 6




  increased. Concurrently filed Declaration of Peter Kent (“Kent Decl.”) at ¶ 15, 16, 17.

           5.    TikTok has licensing agreements with record labels for the use of the songs owned

  by the respective labels. Under TikTok’s agreement with Plaintiffs, Plaintiffs are paid not only a

  flat fee for access to the asserted works, and also a “per creation fee.” Concurrently filed

  Declaration of Jill J. Ormond (“Ormond Decl.”) at Ex. A, Deposition of Stephan Dallas, at 58:16-

  59:16.

           6.    In 2020 Bang Energy expanded its social media marketing to include TikTok.

  Owoc Decl. at ¶ 9; see also Ormond Decl. at Ex. B, Deposition of Megan Owoc (“Deposition of

  Owoc”), at 36:25-37:2.

           7.    No warning was provided by TikTok to Bang Energy that the songs TikTok

  provided could not be used in videos posted by businesses, such as Bang Energy. Owoc Decl. at ¶

  10.

           8.    Bang Energy used TikTok as it was intended, posting videos utilizing the music

  that TikTok provided. Owoc Decl. at ¶ 11.

           9.    Energy understood from TikTok that TikTok had purchased licenses for to the

  songs in the library for use in 15 second videos. Ormond Decl. at Ex. B, Deposition of Owoc, at

  60:4-61:18.

           10.   In March 2020, Bang was expressly informed by a TikTok representative that as

  part of Bang Energy’s social media advertising use of TikTok, Bang Energy “would have access

  to [Tiktok’s] music library.” Ormond Decl. at Ex. B, Deposition of Owoc, at 64:4-16; 69:4-22;

  73:7-75:3; Ormond Decl. at Ex. C, Exhibit 7 to the Deposition of Owoc, at 4.

           11.   Prior to March 2020 during a videoconference a TikTok representative indicated

  that Bang Energy had access to music and, during that conference, helped Bang Energy create a


                                                    2
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Case 0:21-cv-60914-WPD Document 62 Entered on FLSD Docket 04/29/2022 Page 3 of 6




  video using TikTok’s music library. Owoc Decl. at ¶ 12; Id. at Ex. A; Ormond Decl. at Ex. B,

  Deposition of Owoc, at 78:10-79:21.

         12.     Up until Bang Energy received a communication from Plaintiffs it never had any

  reason to believe that its use of TikTok’s music library was unlicensed. Owoc Decl. at ¶ 13;

  Ormond Decl. at Ex. B, Deposition of Owoc, at 93:21-96:13.

         13.     Bang Energy has detailed written corporate policies, which it updates regularly,

  aimed at avoiding unauthorized use of the intellectual property of others. Owoc Decl. at ¶ 14;

  Ormond Decl. at Ex. B, Deposition of Owoc, at 29:13-23; 45:19-21; 51:16-21; 49:8-14.

         14.     Bang Energy has in place multistep review processes aimed at assuring that no

  copyrighted material is used inappropriately. Prior to receiving notice from Plaintiffs,’ due to its

  good faith understanding that the music was free to use on the platform, Bang Energy did not

  police TikTok posts for copyrighted music. Owoc Decl. at ¶ 15; Ormond Decl. at Ex. B, Deposition

  of Owoc, at 39:17-40:21; 49:8-14; 53:5-11.

         15.     After receipt of notice Bang Energy removed or made inaccessible posts with which

  Plaintiffs’ raised issue and since that time Bang Energy uses only its own proprietary music library

  for TikTok posts. Owoc Decl. at ¶16; Ormond Decl. at Ex. B, Deposition of Owoc, at 153:8-154:5;

  156: 12-15.

         16.     In December 2020, Bang Energy approach Universal regarding a potential license

  to a catalog of music for a new project it was contemplating. During initial communications, on

  December 3, 2020, a representative of Universal indicated that Universal “would also love to sort

  out the attached list of unauthorized uses by Bang Energy for use on TikTok.” Within hours, in-

  house counsel for Universal Ms. Cho emailed to ask Bang Energy to immediately delete the

  referenced attachment, which Bang Energy confirmed it did. Ormond Decl. at Ex. D,


                                                    3
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Case 0:21-cv-60914-WPD Document 62 Entered on FLSD Docket 04/29/2022 Page 4 of 6




  UMG000013-18, at UMG000013-14.

         17.     On January 15, 2021, Bang Energy was sent a file purportedly listing videos that

  included Universal copyrighted works and requesting evidence of Bang Energy’s license to use

  the works. Bang Energy’s Chief IP Counsel responded noting Bang Energy’s “understanding is

  that TikTok provides the use of these songs, and others, with a license to all of its members.”

  Ormond Decl. at Ex. E, Bang Energy 0081-00865, at Bang Energy 0084-0085.

         18.     Bang Energy took down the posts disputed identified by Universal and

  discontinued use of music other than from its own proprietary library. Ormond Decl. B, Deposition

  of Owoc, at 153:8-154:5; 156: 12-15.

         19.     Plaintiffs’ Exhibits 1 and 2 list Accused Videos and 78 copyrighted sound

  recordings, and 113 musical compositions “at issue” in this case. Ormond Decl. at Ex. F.

         20.     Plaintiffs produced no copyright registration and no other evidence of ownership

  for six purported copyrights. Ormond Decl. at ¶ 10; Id., at Ex. I, Chart 1, (highlighted) rows 6, 15,

  16, 94, 95 and 131.

         21.     One of the Plaintiffs is the listed owner of only 57 of the 137 purported copyrights.

  Ormond Decl. at ¶12; id. at Ex. I at Column 5.

         22.     Thirty copyright registrations produced by Plaintiffs do not list the same artist or

  song title that Plaintiffs’ Exhibits 1 & 2 identify as being infringed. Ormond Decl. at ¶ 13; id. at

  Ex. I, Chart 1, at Column 6. Thirteen of those 30 list a Plaintiff as owner. Id.

         23.     In response to Defendants’ Interrogatory No. 9 directed to the identification of “the

  details of [Plaintiffs’] copyright ownership,” Plaintiffs purported to respond pursuant to Federal

  Rule of Civil Procedure 33(d), but failed to specify the records that must be reviewed. Ormond

  Decl. at Ex. G, Response to Interrogatories, Response to Interrogatory Nos. 9 and 17.


                                                      4
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Case 0:21-cv-60914-WPD Document 62 Entered on FLSD Docket 04/29/2022 Page 5 of 6




         24.     Plaintiffs identified no “Post URL” for nine of the Accused Videos. Ormond Decl.

  at ¶ 14; id. at Ex. J, Chart 2, at Rows 11, 22, 45, 46, 57, 68, 73, 107, and 131; see also id. at Ex. F.

  [email and attachments].

         25.     Plaintiffs produced no video for the nine Accused Videos for which they did not

  identify a URL and for an additional 23 Accused Videos for a total of 34 Accused Videos for

  which Plaintiffs have not produced video. Ormond Decl. at ¶15; id. at Ex. J, Chart 2, (highlighted)

  at Rows 5, 11, 18, 20-23, 27, 28, 30, 40, 44-46, 57, 64, 68, 73-75, 83, 105, 107, 108, 115, 117 120-

  123, 125, 128, 129 and 131.

         26.     The video of three Accused Videos include no music. Ormond Decl. at ¶16; id. at

  Ex. J, Chart 2 (highlighted) at Rows 31, 32, and 114.

         27.     Plaintiffs have produce none of the copyrighted works asserted to be infringed by

  the Accused Videos. Ormond Decl. at ¶17.

         28.     Bang Energy does not produce or assist in the production of third-party influencer

  videos and does not select or have any input regarding the selection of music included in

  influencers’ TikTok videos. Owoc Decl. at ¶17.



  Dated: April 29, 2022                           Respectfully submitted,

                                                  s/ Jill J. Ormond
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Case 0:21-cv-60914-WPD Document 62 Entered on FLSD Docket 04/29/2022 Page 6 of 6




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                                               6
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